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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
UNITED STATES OF AMERICA                                                :
                                                                        :
-v-                                                                     :    19-CR-374-1 (JMF)
                                                                        :
MICHAEL AVENATTI,                                                       :
                                                                        :
                  Defendant.                                            :
                                                                        :
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         NON-PARTY STEPHANIE CLIFFORD’S MOTION TO QUASH SUBPOENA




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 TO:

 JUDGE JESSE M. FURMAN                 AUDREY STRAUSS, ESQ.                 DAVID E. PATTON, ESQ.
 United States District Court          United States Attorney               Federal Defenders of New
 Judge                                 Southern District of New             York
 Southern District of New              York                                 Attorneys for Michael
 York                                                                       Avenatti




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                               PRELIMINARY STATEMENT
       Non-party Stephanie Clifford through counsel moves the Court to quash Defendant

Michael Avenatti’s combined trial subpoena and subpoena duces tecum. The Movant seeks this

Court’s assistance in resolving a dispute about the manner and scope of Mr. Avenatti’s subpoena.

Mr. Avenatti served a trial subpoena (that also requested documents) on Movant on January 7,

2022. The subpoena requests four categories of documents. The deadline for compliance is January

24, 2022. Thus far, the Parties have been unable to resolve their differences about the subpoena.

       Mr. Avenatti’s subpoena is not compliant with Fed. R. Crim. P. 17 and United States v.

Nixon, 418 U.S. 686 (1974) for several reasons. First, the subpoena claims that the “defendant is

indigent and invokes Rule 17(b) F.R.CRIM.P.” See Subpoena to Clifford, Ex. A. But Rule 17(b)

requires an antecedent application and an order from this Court for “a subpoena to be issued.”

From our review of this Court’s docket, it does not appear that these requirements were satisfied.

       Second, gauged by Rule 17(c) standards, the subpoena cannot stand. A Rule 17(c)

subpoena is not a discovery tool to discover what might be available. Yet, this subpoena has open-

ended requests—requesting “any and all” communications that mention Mr. Avenatti or “any and

all” audio and video recordings about Mr. Avenatti. Those requests show that Mr. Avenatti is

simply looking to discover what might be available. A bevy of cases in this jurisdiction hold that

Nixon forecloses such wide-ranging fishing requests. And because of its open-ended nature, the

subpoena also fails Rule 17’s specificity requirements. In fact, the four classes of documents the

defendant has requested here mirror in scope and wording other subpoenas that judges in this

district have rejected from this defendant. See United States v. Avenatti, 2020 WL 508682, at **3-

6 (S.D.N.Y. Jan. 31, 2020); United States v. Avenatti, 2020 WL 86768, at ** 5-7 (S.D.N.Y. Jan.

06, 2020). Thus, this subpoena deserves the same treatment. This Court should quash the subpoena.



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       Third, as worded, Mr. Avenatti’s boundless requests also creep into Ms. Clifford’s

attorney-client and work-product protected communications and documents. A Rule 17(c)

subpoena is not designed to function as a work-around to longstanding privileges. That is also

reason enough to quash the subpoena. See, e.g., United States v. Pena, 2016 WL 8735699, at *2

(S.D.N.Y. Feb. 12, 2016) (quashing in part subpoena because the defendant had failed to show

that the requested documents did not implicate privileged documents).

       Fourth, Mr. Avenatti’s requests that target “any and all” communications between Movant

and two other non-parties are also not the proper subject of a Rule 17 pretrial subpoena. The

requests have no subject-matter limitation. It is not anchored in any way to the charges at issue.

As worded, the relevance of the request is not readily apparent. Besides those glaring failings, the

out-of-courts statements by those third parties are rank hearsay. A Rule 17(c) subpoena should be

trained to admissible evidence. As presented, the subpoena’s far-searching requests fail Rule 17’s

admissible evidence, relevancy, and specificity tests. This Court should quash the subpoena.

       Fifth, because the subpoena is unbounded in scope, that makes compliance with it

oppressive and burdensome. See Fed. R. Crim. P. 17(c). That is also a freestanding reason to quash

the subpoena. For all these reasons, this Court should quash Mr. Avenatti’s subpoena.

                                I.     FACTUAL BACKGROUND

       Counsel for the defendant served a trial subpoena (that also requested documents in a

Rider) on Movant on January 7, 2022. The trial subpoena requires Movant’s attendance for trial

on January 24, 2022. See Trial Subpoena, Ex. A. The subpoena did not come with witness fees nor

has the defendant (or his counsel) made any arrangements for the payment of fees. Id. In the Rider,

the subpoena claims that the “defendant is indigent and invokes Rule 17(b) F.R.CRIM.P.” See Ex.

A. Movant’s counsel’s office has reviewed the Court’s docket for this case in search of (a) the



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defendant’s application for a subpoena to issue to her; and (b) an order from this Court approving

issuance of this subpoena to Movant. Movant’s counsel located neither. See C. Brewster Decl.,

filed contemporaneously herewith. And as noted, the at-issue subpoena has a Rider, that makes

several document requests. The requests have been reproduced below verbatim:

   •   Provide any and all communications between Stephanie Clifford and Michael Avenatti
       between February 2018 – Present. This should include all text messages, instant messages,
       emails, letters, cards, voicemails, Facebook messages, WhatsApp messages, Instagram
       messages, and messages on similar platforms such as Signal or Telegram.

   •   Provide any and all communications about or mentioning Michael Avenatti between
       February 2018 - Present. This should include all text messages, instant messages, emails,
       letters, cards, voicemails, Facebook messages, WhatsApp messages, Instagram messages,
       and messages on similar platforms such as Signal or Telegram.

   •   Provide any and all communications between Stephanie Clifford and Luke Janklow or
       Sally Richardson between February 2018 – Present. This should include all text messages,
       instant messages, emails, letters, cards, voicemails, Facebook messages, WhatsApp
       messages, Instagram messages, and messages on similar platforms such as Signal or
       Telegram.

   •   Provide any and all audio and video recordings and voicemails recorded between February
       2018 – Present that include Michael Avenatti’s voice.

                                        II.     ARGUMENT
       The movant of a Rule 17 subpoena must establish: (1) “relevancy; (2) admissibility; (3)

specificity” as well as (4) “that the application is made in good faith and [5] is not intended as a

general fishing expedition.” Nixon, 418 U.S. at 700. If the movant of a Rule 17 subpoena fails to

meet each of these requirements, a court may quash the subpoena. See United States v. Kahn, 2009

WL 152582, at **2-4 (E.D.N.Y. Jan. 20, 2009). This Court can also quash a Rule 17(c) subpoena

“if compliance would be unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(2). As shown below,

a faithful application of these governing standards here should compel this Court to quash Mr.

Avenatti’s subpoena for five reasons.




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          First reason. The subpoena claims that the “defendant is indigent and invokes Rule 17(b)

F.R.CRIM.P.” See Ex. A. But Rule 17(b) requires an antecedent application from the defendant

and an order from this Court for “a subpoena to be issued.” See Fed. R. Crim. P. 17(b). From

Movant’s review of the Court’s public docket, it does not appear that these requirements were

satisfied. See Brewster Decl. Thus, the Court should quash Mr. Avenatti’s subpoena.

          Second reason. The unbounded scope of Mr. Avenatti’s subpoena requests——requesting

“any and all” communications that mention Mr. Avenatti or “any and all” audio and video

recordings about Mr. Avenatti 1—invalidates the subpoena. When gauged by Rule 17(c) standards,

Mr. Avenatti’s requests are not specific. The open-ended and searching nature of the requests—

i.e., “any and all communications”—shows that the requests are simply an attempt to see what

might be available. United States v. Rich, 1984 WL 845, at *3 (S.D.N.Y. Sept. 7, 1984) (“Rule

17(c) . . . cannot be used as a device to gain understanding or explanation.”). Mr. Avenatti has not

tried to anchor his requests to specific messages or communications. Rather, the request is

boundless. See Ex. A. In fact, courts in this district have already rejected Mr. Avenatti’s attempts

to use nearly identically worded Rule 17(c) subpoenas as backhanded attempts to “expand the

limited discovery provided” under Rule 16. See Avenatti, 2020 WL 508682, at ** 3-6; Avenatti,

2020 WL 86768, at **5-7. That is also reason to quash the subpoena duces tecum in this case.

United States v. Louis, 2005 WL 180885, at *5 (S.D.N.Y. Jan. 27, 2005) (quashing subpoena that

requested “any and all writings and records’ related to the [police department’s] contact with a

particular confidential witness”). This Court should likewise quash the subpoena here.

         Third reason. As worded, Mr. Avenatti’s boundless requests also creep into Ms. Clifford’s

attorney-client and work-product protected communications and documents. See, e.g., Ex. A



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    See Ex. A
                                                 5
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(requesting documents with “any and all communications about or mentioning Michael Avenatti

between February 2018 - Present.”). The request has no subject-matter limitation. It is in no way

anchored to the charges at issue. And as worded, the relevance of the request is not readily

apparent. There is nothing that limits Mr. Avenatti’s requests from creeping into Ms. Clifford’s

attorney-client communications with her counsel. Those kinds of documents fall under the

attorney-client privilege. See Am. Civil Liberties Union v. NSA, 925 F.3d 576, 589 (2d Cir. 2019)

(noting that the doctrine protects “communications (1) between a client and his or her attorney (2)

that are intended to be, and in fact were, confidential (3) for the purpose of obtaining or providing

legal advice” (citation omitted)). That is a reason to quash the subpoena. See Pena, 2016 WL

8735699, at *2 (quashing in part subpoena because the defendant had failed to show that the

requested documents did not implicate privileged documents).

         Similarly, Mr. Avenatti’s requests also target documents subject to the work-product

doctrine. See, e.g., Ex. A (requesting documents with “any and all communications about or

mentioning Michael Avenatti between February 2018 - Present.”). As noted, the request has no

subject-matter limitation, and there is nothing that limits Mr. Avenatti’s requests from creeping

into Ms. Clifford’s work-product protected documents. See Ex. A. To be sure, Movant’s current

counsel (Mr. Clark Brewster) assumed representation from Mr. Avenatti in several cases across

the country. See Brewster Affidavit. And as a foreseeable consequence, there are several documents

created in anticipation of (or in aid of) that varied litigation that mention “Michael Avenatti

between February 2018 - Present.” There is no link between any of those documents and this case.

See Ex. A. That is a freestanding reason to also quash the subpoena. See Pena, 2016 WL 8735699,

at *2.




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       Fourth reason. The rest of Mr. Avenatti’s requests that target “any and all”

communications between Movant and two other non-parties are also not the proper subject of a

Rule 17 pretrial subpoena. That request also has no subject-matter limitation. It, like others before,

is in no way anchored to the charges at issue. See Ex. A. As worded, the relevance of the request

is not readily apparent. A “mere hope that the documents, if produced, may contain evidence

favorable to the defendant’s case will not suffice.” United States v. Rich, 1984 WL 845, at *3

(S.D.N.Y. Sept. 7, 1984). And in any event, if the requested information does not bear on guilt or

innocence, but is simply a way to generically impeach witnesses, that is not a proper target of a

Rule 17(c) subpoena. See United States v. Weissman, 2002 WL 31875410, at *1 (S.D.N.Y. Dec.

26, 2002) (“[S]everal cases articulate an absolute prohibition on the use of a Rule 17(c) subpoena

solely for impeachment purposes.”). Besides those glaring failings, the out-of-courts statements

by those third parties are rank hearsay. This matters because Rule 17(c) subpoenas do not apply to

inadmissible information. United States v. Donziger, 2021 WL 1865376, at *7 (S.D.N.Y. May 10,

2021) (“Rule 17(c) subpoenas cannot be used to obtain documents that would be excluded on

hearsay grounds or would otherwise be inadmissible as evidence at trial.”).

       Fifth reason. Rule 17(c) provides that “the court may quash or modify the subpoena if

compliance would be unreasonable or oppressive.” Thus, Rule 17(c) imposes a reasonableness

standard. See, e.g., United States v. Chambers, 2017 WL 4857599, at *2 (S.D.N.Y. Oct. 26, 2017).

When, as here, a subpoena is “unbounded and expansive in scope,” such a subpoena is oppressive

and compelled “compliance with this request would be unduly burdensome.” United States v.

Cognetta, 2019 WL 4198544, at *4 (S.D.N.Y. Aug. 13, 2019). That is also another reason for this

Court to quash this subpoena.




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                                       CONCLUSION

       For the foregoing reasons set forth above, Defendant Avenatti’s Subpoena to Stephanie

Clifford should be quashed.

                                                   Respectfully submitted,


                                                   /s/ Clark O. Brewster
                                                   Clark O. Brewster, OBA # 1114
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                                CERTIFICATE OF SERVICE

      I hereby certify that on January 18, 2022, I electronically transmitted the foregoing
document using the ECF System for filing and transmittal of a Notice of Electronic Filing to all
ECF registrants who have appeared in this case.




                                 /s/ Clark O. Brewster




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